Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 1 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 2 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 3 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 4 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 5 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 6 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 7 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 8 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 9 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 10 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 11 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 12 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 13 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 14 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 15 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 16 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 17 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 18 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 19 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 20 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 21 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 22 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 23 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 24 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 25 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 26 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 27 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 28 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 29 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 30 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 31 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 32 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 33 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 34 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 35 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 36 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 37 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 38 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 39 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 40 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 41 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 42 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 43 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 44 of 45
Case 23-53017-wlh   Doc 13    Filed 04/14/23 Entered 04/14/23 14:13:02   Desc Main
                             Document      Page 45 of 45
